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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN {Individual Adjustment of Debts)

[] Original Plan
fm] SIXTH Amended Plan (Indicate Ist. 2nd. etc. Amended. if applicable)
[| Modilied Plan (Indicate Ist, 2nd, etc. Modified. if appticable)
DEBTOR: Mary Thomas Baxter JOINT DEBTOR: CASE NO: 23-10480-CLC
SS#: NXX-NN- 5637 SS#: XXN-AN-
E NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be contirmable. All plans. amended plans and

moditied plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Loval
Rules 2002-1 (C)(5), 3015-1(B (2). and 3015-2. Debtor(s) must commence plan payments within 30 days of {ling
the chapter I3 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph [X. Debtor(s} must check one bux
on each line listed below in this section to state whether the plan includes any of the following:

The valuation of a secured claim, set out in Section IT, which may result in a [M] Included [] Not ineluded
partial payment or no payment at all to the secured creditor

Avoidance ofa judicial lien or nonpossessory. nonpurchase-money security interest, set [c] Included [Not included
out in Section II

Nonstandard provisions, set out in Section [X (| Included [] Not included

II. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%. beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

1. $2,214.36 formonths 1 to] 7
2. $2,342.57 tormonths 8 ta _ 60;
B. DEBTOR(S)' ATTORNEY'S FEE: LINONE [] PRO BONO
Total Fees: $8.025.00 Total Paid: $2.600.00 Balance Due: $5.425,06
Payable $113.75 ‘month (Months | to 7) :
Payable $229.14 ‘month {Months 8 to 27 }
Payable $45.95 ‘month (Months 28 to 28 )

Altowed fees under LR 2016-1(B (2) are itemized below:
Safe Harbor: $2.506.00 MMM + $100.00 MMM Cost + $4,500.00 Attorney's Fees + $150.00 Costs + $775 Motion to Valuc =
$8.025.00

Applications for compensation must be filed for all tees over and above the Court's Guidelines for Compensation. |
If. TREATMENT OF SECURED CLAIMS [] NONE
A. SECURED CLAIMS: [|] NONE

{Retain Liens pursuant to 11 ULS.C. $1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:

1. Creditor: Citigroup Mortgage Ioan Trust, Inc. / Cenlar Mortgage. FSB

Address: 425 Phillips Blvd Arrearage’ Payoffon Petnion Date $172,548.46
Ewing. SJ 08618 MMM Adequate Protection $1879.17 ‘month (Months [to a0:

LF-31 (rey. 04-01 22) Page LotS

Iv.

V.

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Debtor(s): Mary Thomas Baxter Case number: 23-10480-CLC

Last 4 Digits of
Account No.: 9635
Other:
[m) Real Property Check one below for Real Property:

[@Principal Residence [@]Escrow is included in the regular payments

[Other Real Property [_]The debtor(s) will pay [_]taxes [_]insurance directly
Address of Collateral:

13401 SW 265 Ter, Homestead, FL 33032

[_] Personal Property/Vehicle

Description of Collateral:

B. VALUATION OF COLLATERAL: [_] NONE
IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
YOU PURSUANT TO BR 7004 AND LR 3015-3.

1. REAL PROPERTY: [ ] NONE

1. Creditor: AXIOM FINANCIAL Value of Collateral: $227,191.00 Payment
Address: AHP Servicing Amount of Creditor’s Lien: $0.00 Total paid in plan: $0.00
440 S. LaSalle St, Suite 1110
Chi , EL 60605
meee Interest Rate: 0.00% $0.00 /month(Months sto)
Last 4 Digits of Account No.: 0833 TC
Check one below:
Real . , . L_] Escrow is included in the monthly
[@)Principal Residence mortgage payment listed in this section
[_]Other Real Property _] The debtor(s) will pay
’ | Address of Collateral: [_]taxes [insurance directly

13401 South West 265th Terrace
Homestead, FL 33032

2. VEHICLES(S): [mj] NONE
3. PERSONAL PROPERTY: {i] NONE
C. LIEN AVOIDANCE [im] NONE
D. SURRENDER OF COLLATERAL: [_]| NONE

Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
[mi] The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s)
request that upon confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in
personam as to any codebtor(s) as to these creditors.

[[] Other:
Name of Creditor Last 4 Digits of Account No. Deseript: ateral (/
SANTANDER CONSUMER 6892 2015 Ford F150 (crashed)
1. USA
E. DIRECT PAYMENTS [sg] NONE
TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)] _ {m] NONE

OF D NO oO ITORS (] NONE
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Debtor(s): Mary Thomas Baxter Case number: 23-10480-CLC
A. Pay $0.00 ‘month (Months 1 to27 )
Pay $183.19 Amonth (Months 28 to 28 )
Pay $229.14 /month (Months 29 to 60 )
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

B. (_] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriarity claims.

C. SEPARATELY CLASSIFIED: {m] NONE
VE STUDENT LOAN PROGRAM [a] NONE
Vil. EXECUTORY CONTRACTS AND UNEXPIRED LEASES {m] NONE

VOI. INCOME TAX RETURNS AND REFUNDS:
[B] The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
increases by more than 3% over the previous year’s income. [Miami cases]

1x. NON-STANDARD PLAN PROVISIONS [| NONE
{=| Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

Confirmation of the plan shall not bar Debtor's counsel from filing an Application for Compensation for any work performed
before confirmation.

{@] Mortgage Modification Mediation

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Debtor(s): Mary Thomas Baxter Case number: 23-10480-CLC
1 The debtor has filed a Verified Motion for Referral to MMM with:
Citigroup Mortgage Loan Trust, Inc. / Cenlar Mortgage FSB ("Lender")

loan number 4772109635
for real property located at 13401 SW 265 Terrace, Homestead, FL 33032

The parties shall timely comply with all requirements of the Order of Referral to MMM and all Administrative Orders/Local
Rules regarding MMM. While the MMM is pending and until the trial/interim payment plan or the permanent mortgage
modification/permanent payment is established by the parties, absent Court order to the contrary, the debtor has included a post-
petition monthly plan payment (a) with respect to the debtor’s homestead, of no less than the lower of the prepetition monthly
contractual mortgage payment or 31% of the debtor’s gross monthly income (after deducting any amount paid toward HOA fees
due for the property) and (b) with respect to income producing property, of no less than 75% of the gross income generated by
such property, as a good faith adequate protection payment to the lender. All payments shall be considered timely upon receipt
by the trustee and not upon receipt by the lender.

Until the MMM is completed and the Final Report of Mortgage Modification Mediator is filed, any objection to the lender’s
proof of claim on the real property described above shall be held in abeyance as to the regular payment and mortgage arrearage
stated in the proof of claim only. The debtor shall assert any and all other objections to the proof of claim prior to confirmation

of the plan or modified plan.

If the debtor, co-obligor/co-borrower or other third party (if applicable) and the lender agree to a settlement as a result of the
pending MMM, the debtor will file the MMM Local Form “Ex Parte Motion to Approve Mortgage Modification Agreement
with Lender” (or Self-Represented Debtor’s Motion to Approve Mortgage Modification Agreement with Lender) no later than
14 calendar days following settlement. Once the settlement is approved by the Court, the debtor shall immediately amend or
modify the plan to reflect the settlement and the lender shall amend its Proof of Claim to reflect the settlement, as applicable.

If a settlement is reached after the plan is confirmed, the debtor will file a motion to modify the plan no later than 30 calendar
days following approval of the settlement by the Court and the Lender shall have leave to amend its Proof of Claim to reflect
the settlement reached after confirmation of the plan. The parties will then timely comply with any and all requirements
necessary to complete the settlement.

In the event the debtor receives any financial benefit from the lender as part of any agreement, the debtor shall immediately
disclose the financial benefit to the Court and the trustee and amend or modify the plan accordingly.

If the lender and the debtor fail to reach a settlement, then no later than 14 calendar days after the mediator’s Final Report is
filed, the debtor will amend or modify the plan to (a) conform to the lender’s Proof of Claim (if the lender has filed a Proof of
Claim), without limiting the Debtor’s right to object to the claim or proceed with a motion to value; or (b) provide that the real
property will be “treated outside the plan.” If the property is “treated outside the plan,” the lender will be entitled to in rem stay
relief to pursue available state court remedies against the property. Notwithstanding the foregoing, lender may file a motion to
confirm that the automatic stay is not in effect as to the real property.

Confirmation of the plan will be without prejudice to the assertion of any rights the lender has to address payment of its Proof
of Claim.
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Debtor(s): Mary Thomas Baxter Case number: 23-10480-CLC

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

fae, Ht 1a we

omas Baxter Date Date

/s/ Jose A. Blanco, Esq. July 19, 2023
Date

Attomey with permission to sign on
Debtar(s)' behalf who certifies that
the contents of the plan have been

reviewed and approved by the

Debtor(s).!

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph IX.

I This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)’ attomey authorizing the
attomey to sign documents on the Debtor(s)’ behalf.
